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                                UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
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       Belen Acevedo,                            Case No.
               Plaintiff,
                                                    Complaint For Damages And
         v.                                      Injunctive Relief For Violations
                                                    Of: American’s With Disabilities
       HGGA Promenade, L.P., a                   Act; Unruh Civil Rights Act
          California Limited Partnership;
       Marshalls of CA, LLC, a Virginia
          Limited Liability Company; and
       Does 1-10,
               Defendants.

           Plaintiff Belen Acevedo complains of HGGA Promenade, L.P., a
   California Limited Partnership; Marshalls of CA, LLC, a Virginia Limited
   Liability Company; and Does 1-10 (“Defendants”), and alleges as follows:
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       PARTIES:
       1. Plaintiff is a California resident with physical disabilities. She suffers
   from multiple sclerosis. She uses a walker and a scooter for mobility.
       2. Defendant HGGA Promenade, L.P. owned the real property located at


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    or about 9939 Chapman Avenue, Garden Grove, California, in January 2019.
        3. Defendant HGGA Promenade, L.P. owns the real property located at or
    about 9939 Chapman Avenue, Garden Grove, California, currently.
        4. Defendant Marshalls of CA, LLC owned Marshalls located at or about
    9939 Chapman Avenue, Garden Grove, California, in January 2019.
        5. Defendant Marshalls of CA, LLC owns Marshalls (“Store”) located at or
    about 9939 Chapman Avenue, Garden Grove, California, currently.
        6. Plaintiff does not know the true names of Defendants, their business
    capacities, their ownership connection to the property and business, or their
   relative responsibilities in causing the access violations herein complained of,
   and alleges a joint venture and common enterprise by all such Defendants.
   Plaintiff is informed and believes that each of the Defendants herein,
   including Does 1 through 10, inclusive, is responsible in some capacity for the
   events herein alleged, or is a necessary party for obtaining appropriate relief.
   Plaintiff will seek leave to amend when the true names, capacities,
   connections, and responsibilities of the Defendants and Does 1 through 10,
   inclusive, are ascertained.

       JURISDICTION & VENUE:
       7. The Court has subject matter jurisdiction over the action pursuant to 28
   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
       8. Pursuant to supplemental jurisdiction, an attendant and related cause
   of action, arising from the same nucleus of operative facts and arising out of
   the same transactions, is also brought under California’s Unruh Civil Rights
   Act, which act expressly incorporates the Americans with Disabilities Act.
       9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
   founded on the fact that the real property which is the subject of this action is


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    located in this district and that Plaintiff's cause of action arose in this district.
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        FACTUAL ALLEGATIONS:
        10.Plaintiff went to the Store in January 2019 to shop.
        11.The Store is a facility open to the public, a place of public
    accommodation, and a business establishment.
        12.Paths of travel are one of the facilities, privileges, and advantages
    offered by Defendants to patrons of the Store.
        13.The path of travel leading to the women’s restroom was less than 36
   inches in width. In fact, the path of travel was no more than 24 inches wide due
   to chairs and stools that are kept there.
       14.Currently, the path of travel leading to the women’s restroom is less than
   36 inches in width.
       15.Restrooms are another one of the facilities, privileges, and advantages
   offered by Defendants to patrons of the Store.
       16.The disposable toilet seat cover dispenser was mounted on the wall.
   Defendants placed a trash can in front of the disposable toilet seat cover
   dispenser, which served as an obstruction to plaintiff.
       17.Maneuvering clearances are also one of the facilities, privileges, and
   advantages offered by Defendants to patrons of the Store.
       18.Unfortunately, the Store places a large trash can in the women’s
   restroom, such that it blocks wheelchairs users from exiting the restroom
   without great difficulty. There is a front approach to the pull side of a swinging
   exit door but there are only a few inches of clearance to the strike side of the
   door.
       19.Defendants have failed to maintain in operable working condition those
   features of facilities and equipment that are required to be readily accessible to
   and usable by persons with disabilities at the Subject Property.


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        20.Plaintiff personally encountered these barriers.
        21.This inaccessible facility denied the plaintiff full and equal access and
    caused her difficulty, discomfort, and embarrassment.
        22.Plaintiff will return to the Store to avail herself of its goods or services
    once the barriers are permanently removed. If the barriers are not removed,
    the plaintiff will face unlawful and discriminatory barriers again.
        23.The defendants have failed to maintain in working and useable
    conditions those features required to provide ready access to persons with
    disabilities.
       24.Given the obvious and blatant nature of the barriers and violations
   alleged herein, the plaintiff alleges, on information and belief, that there are
   other violations and barriers on the site that relate to her disability. Plaintiff
   will amend the complaint, to provide proper notice regarding the scope of this
   lawsuit, once she conducts a site inspection. However, please be on notice that
   the plaintiff seeks to have all barriers related to her disability remedied. See
   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
   encounters one barrier at a site, she can sue to have all barriers that relate to
   her disability removed regardless of whether she personally encountered
   them).
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   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
   Defendants.) (42U.S.C. section 12101, et seq.)
       25.Plaintiff re-pleads and incorporates by reference, as if fully set forth
   again herein, the allegations contained in all prior paragraphs of this
   complaint.
       26.Under the ADA, it is an act of discrimination to fail to ensure that the
   privileges, advantages, accommodations, facilities, goods and services of any


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    place of public accommodation is offered on a full and equal basis by anyone
    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
    § 12182(a). Discrimination is defined, inter alia, as follows:
              a. A failure to make reasonable modifications in policies, practices,
                  or procedures, when such modifications are necessary to afford
                  goods,     services,   facilities,   privileges,   advantages,       or
                  accommodations to individuals with disabilities, unless the
                  accommodation would work a fundamental alteration of those
                  services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
             b. A failure to remove architectural barriers where such removal is
                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
                 defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
                 Appendix “D.”
             c. A failure to make alterations in such a manner that, to the
                 maximum extent feasible, the altered portions of the facility are
                 readily accessible to and usable by individuals with disabilities,
                 including individuals who use wheelchairs or to ensure that, to the
                 maximum extent feasible, the path of travel to the altered area and
                 the bathrooms, telephones, and drinking fountains serving the
                 altered area, are readily accessible to and usable by individuals
                 with disabilities. 42 U.S.C. § 12183(a)(2).
       27.Clear floor space that allows a forward or a parallel approach by a person
   using a wheelchair shall be provided at controls, dispensers, receptacles, and
   other operable equipment. 2010 Standards § 309.2.
       28.Here, the failure to provide such floor space is a violation of the law.
       29.The minimum clear width of an accessible route shall be 36 inches.
   2010 Standards § 403.5.1.
       30.Here, the failure to provide an accessible path of travel to the restroom


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    is a violation of the ADA.
        31.When an entrance or exit requires a front approach to the pull side of a
    swinging door, there must be a minimum of 18 inches clear floor space to the
    strike side of the doorway. 2010 Standards § 404.2.4.1.
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          32.Here, the failure to provide that strike side clearance is a violation.
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          33.The Safe Harbor provisions of the 2010 Standards are not applicable
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      here because the conditions challenged in this lawsuit do not comply with the
 
      1991 Standards.
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          34.A public accommodation must maintain in operable working condition
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      those features of its facilities and equipment that are required to be readily

      accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).

          35.Here, the failure to ensure that the accessible facilities were available

      and ready to be used by the plaintiff is a violation of the law.
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      II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
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      RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.

      Code § 51-53.)
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          36.Plaintiff repleads and incorporates by reference, as if fully set forth

      again herein, the allegations contained in all prior paragraphs of this

      complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,

      that persons with disabilities are entitled to full and equal accommodations,

      advantages, facilities, privileges, or services in all business establishment of

      every kind whatsoever within the jurisdiction of the State of California. Cal.

      Civ. Code §51(b).
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          37.The Unruh Act provides that a violation of the ADA is a violation of the

      Unruh Act. Cal. Civ. Code, § 51(f).
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          38.Defendants’ acts and omissions, as herein alleged, have violated the
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      Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s

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    rights to full and equal use of the accommodations, advantages, facilities,
    privileges, or services offered.
        39.Because the violation of the Unruh Civil Rights Act resulted in difficulty,
    discomfort or embarrassment for the plaintiff, the defendants are also each
    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
    (c).)
 
              PRAYER:
              Wherefore, Plaintiff prays that this Court award damages and provide
   relief as follows:
           1.For injunctive relief, compelling Defendants to comply with the
   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
   plaintiff is not invoking section 55 of the California Civil Code and is not
   seeking injunctive relief under the Disabled Persons Act at all.
           2.Damages under the Unruh Civil Rights Act, which provides for actual
   damages and a statutory minimum of $4,000 per occasion.
           3.Reasonable attorney fees, litigation expenses and costs of suit, pursuant
   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
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   Dated: February 12, 2019             CENTER FOR DISABILITY ACCESS
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                                        By:
                                           ____________________________________

                                                 Chris Carson, Esq.
                                              Attorney for plaintiff
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